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           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:05CR250
                              )
          v.                  )
                              )
JOLENE CORTEZ,                )                         ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue report date (Filing No. 64).             The Court finds said

motion should be granted.      Accordingly,

          IT IS ORDERED that defendant’s motion is granted;

defendant shall have until June 5, 2006, at or before 2 p.m. to

report to FPC Greenville, Greenville, Illinois, to commence

service of her sentence.

          DATED this 28th day of March, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
